             Case: 1:17-cr-00573 Document #: 13 Filed: 09/20/17 Page 1 of 1 PageID #:23



AO 94 (Rcv. 06i09) Commiu$ont to AnothcrDistsict



                                      Umrsn Srarns Dmrnrcr CotlRT
                                                                   forthe
                                                       Northem Distriot of Illinois

                  United States of America                           )
                               v.                                    )
                                                                     )      caseNo.   l'7cc 573
                                                                     )
                                                                     )        Charsins District's
                                                                     )        C*.fto] l lc-r          9"7 5
                                            COIUYTITMENT TO ANOTTER DISTBICT

          Thedefendanthasbeenorderedtoappeariathe                    hsefn                District   of lJe-rS'/OfA,
fifapplicableJ                                        division. The defendaut may need an interpreter for this language:
                    lJ/ A
          The    defendant: CI will retain         an attorney.

                                ffi    requesting court-appoinfsd sounsel.

          The defendant remaias in custody affer the inilial appearax$e.

         IT IS ORDERED: fhe United States marshal mffit lransport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to reseive the defendant" The marshal or officer in the chaiging district should immediately notify the United
Stares attorney and the clark of court for that distict of the defendanfs a*ival so thal firther proceedings may be




Date:       ?- ll-tl
                                                                                          Judge\ signature


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